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Plaintif f , )
)
vs. ) CR. No. 04-20310-01-Ma
)
MAJOR GRUBBS, )
)
Defendant. )

 

ORDER. ON CHANGE OF PLEA

 

This cause came on to be heard on August 26, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Major Grubbs, appearing in person and with retained
counsel, Mr. Lee Gerald.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, Jannary 6, 2006
at 1230 p.m.

The defendant may remain on his present bond pending
sentencing.

ENTERED this the 1"‘& day of August, 2005.

y(w~t_..

SAMUEL I-I. MAYS, JR.
UNITED STATES DISTRICT JUDGE

This docL.ment entered on the docket et in com liance
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This notice confirms a copy of the document docketed as number 74 in
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Lee Howard Gerald

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Honorable Samuel Mays
US DISTRICT COURT

